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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 DEADRIA FARMER-PAELLMANN, et al.,

                        Plaintiff,

                        v.                         Case No. 1:22-cv-3048 (CRC)

 SMITHSONIAN INSTITUTION,

                        Defendant.

                                     OPINION AND ORDER

       Plaintiffs, Deadria Farmer-Paellmann and Restitution Study Group, seek an emergency

temporary restraining order to prevent the Smithsonian Institution from repatriating a portion of

its collection of artifacts known as the “Benin Bronzes” to a national museum in Nigeria. The

motion is denied.

       Plaintiffs have not met their burden of showing they are likely to succeed on their claims

because they appear to lack standing and have not asserted any valid cause of action to challenge

the Smithsonian’s decision to transfer some of the Bronzes.

       Plaintiffs base standing on the assertion that they have a concrete personal stake in

retaining access to the Bronzes because Ms. Farmer-Paellmann is a descendant of individuals

who, between the 16th century and 19th century, were sold into slavery by the Kingdom of

Benin in exchange for the metal that was used to fabricate the Bronzes. But even if Plaintiffs

could establish that ancestral link to the Bronzes—which they have not done on this record—

such an attenuated connection would not give rise to the type of “concrete and particularized”

injury necessary for standing. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992). 1




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         Plaintiffs might be able to establish standing based on a different injury, such as harm to
an academic or aesthetic interest in the Bronzes, which might be heightened by their alleged
ancestral ties, but they do not advance those arguments in any detail.
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       Plaintiffs are unlikely to succeed on the merits of any of their asserted claims even if they

have standing. Plaintiffs’ ultra vires claim fails because the Smithsonian’s actions are not

subject to judicial review under the Administrative Procedure Act. See Dong v. Smithsonian

Inst., 125 F.3d 877, 883 (D.C. Cir. 1997). In any event, the authorizing statute of the

Smithsonian’s Museum of African Art, where the Bronzes are held, explicitly empowers its

Board to, among other things, “transfer” works in its collection. See 20 U.S.C. § 80m(a)(2).

Accordingly, the Smithsonian does not appear to have acted beyond its statutory authority by

reaching an agreement with Nigeria to transfer some of the Benin Bronzes.

       Plaintiffs’ claims that the transfer would breach a trust relationship fare no better. While

Plaintiffs assert that the Smithsonian holds its collection in constructive trust for the people of

the United States or a subsection of U.S. citizens that descended from West Africa, the D.C.

Circuit has held that only the United States holds legal title to the Smithsonian collection as its

trustee. Dong, 125 F.3d at 883. Nor would it be appropriate for the Court to create a

constructive trust over the Bronzes, as Plaintiffs request, because they have not alleged that they

hold some property interest in the Bronzes that the Smithsonian obtained through improper

means. See U.S. v. Taylor, 867 F.2d 700, 703 (D.C. Cir. 1989) (“Courts impose a constructive

trust to redress the injustice that would otherwise occur when one person has fraudulently or

wrongfully obtained the property of another.”).

       Plaintiffs’ unjust enrichment claim suffers from a similar defect. Unjust enrichment

occurs when a defendant receives a benefit from the plaintiff without providing adequate

compensation for that benefit. Rapaport v. Dep’t of Treas., 59 F.3d 212, 217 (D.C. Cir. 1995).

Here, Plaintiffs do not seek compensation for any benefit they bestowed on the Smithsonian.

Rather, they seek to block the Smithsonian from voluntarily transferring property that it legally

holds to a third-party. That does not fit the mold of an unjust enrichment claim.

       Accordingly, Plaintiffs are not likely to prevail on any of their claims.

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       Plaintiffs also have not adequately alleged that they will suffer irreparable harm if a

portion of the Smithsonian’s collection of Benin Bronzes is transferred to Nigeria. First, at least

some of the Bronzes will remain at the Museum of African Art for the foreseeable future.

Compl. ¶ 65. Second, if Plaintiffs are interested in visiting the transferred Bronzes, they can do

so by traveling from New York to Nigeria. 2 While that would be more expensive and

inconvenient than seeing the Bronzes in Washington, D.C., such harms do not constitute

irreparable injuries. Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C.

Cir. 2006) (“Mere injuries, however substantial, in terms of money, time and energy necessarily

expended in the absence of [an injunction] are not enough.” (quoting Wis. Gas Co. v. FERC, 758

F.2d 669, 674 (D.C. Cir. 1985))).

       For all these reasons, Plaintiffs’ [2] Emergency Motion for Temporary Restraining Order

and Preliminary Injunction is hereby DENIED. 3

       SO ORDERED.




                                                             CHRISTOPHER R. COOPER
                                                             United States District Judge
       Date: 10/14/2022




       2
          Plaintiffs suggest that the Bronzes may not be displayed publicly after they arrive in
Nigeria. Pls.’ Reply at 3-4. That suggestion is inconsistent with Plaintiffs’ acknowledgement
that the Bronzes will be entrusted to the Edo Museum of West African Art, Pls.’ Mot. TRO at 1,
and with the Court’s understanding of the overall purpose of the transfer agreement.
       3
         The government has also moved to dismiss the case. The Court will reserve judgment
on that motion. Should Plaintiffs wish to press on following this ruling, they may respond to the
government’s motion to dismiss by either filing a supplemental opposition within the time
allowed under the Local Rules or amending their complaint as of right.

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